Case 2:OO-CV-02923-SH|\/|-egb Document 283 Filed 08/26/05 Page 1 of 4 Page|D 465

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IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT op TENNESSEE _ _
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EQUAL EMPLOYMENT oPPORTUNITY , _,, C
COMMISSION, ana W¢‘DOrTN,MLWi-I!S

CONSTANCE AMOS,

Plaintiffs,
VS. NO. 00-2923»Ma
AUTOZONE , INC. ,

Defendant.

 

ORDER GRANTING MOTION TO FILE SURREPLY

 

Before the court is the plaintiff's August 23, 2005,
unopposed motion to file a surreply to defendant's reply on its
motion for summary judgment. For good cause shown, the motion is
granted and the plaintiff may file its surreply.

It is so ORDERED this v` uday of August, 2005.

_A/)J}"'L__.

SAMUEL H. M.AYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

